Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 1 of 30



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 14-20555-CR-GAYLES

  UNITED STATES OF AMERICA

  v.

  ANTHONY P. BOSCH,

         Defendant.
                                     /


        MOTION FOR SIX MONTH DOWNWARD DEPARTURE/VARIANCE AND
                   MEMORANDUM IN AID OF SENTENCING

         Defendant Anthony Bosch, through undersigned counsel, respectfully files his Motion for

  a Modest Downward Departure and/or Variance from the advisory sentencing guidelines and

  submits this Memorandum in Aid of Sentencing, pursuant to U.S.S.G. § 5K1.1, 18 U.S.C. §

  3553(a) and Local Rule 88.8(b), stating:

                                                INTRODUCTION

         On October 16, 2014, Anthony Bosch pled guilty to a single-count Information charging

  him with conspiracy to distribute testosterone, in violation of Title 21, U.S.C. § 841(a)(1). In so

  doing, Mr. Bosch accepts complete responsibility for participating in the distribution of

  testosterone, a Schedule III substance.

         Mr. Bosch did not set out to harm the individuals that sought his help. Indeed, that was

  never his intent. To the contrary, he started out with the simple desire to follow in the footsteps

  of his father, a doctor. It was Tony Bosch’s desire to complete medical school, become a doctor,

  and try to help people. His passion for sports eventually intersected with his years of medical

  training and education.     He began building a legitimate, successful business focused on




                               3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 2 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


  educating individuals as to health, nutrition, and performance. As his business grew, he began to

  meet and treat professional athletes and clients who willingly sought his services. Mr. Bosch

  continued to be blessed with success. Unfortunately, the professional and personal pressures he

  put on himself led to sporadic, recreational drug use. Even more unfortunate, his sporadic,

  recreational drug use eventually evolved into an addition. As this happened, his life devolved,

  and prior to his arrest eventually spiraled out of control. For this he is deeply sorry to the Court,

  to his family, and to the government.

                                        THE SENTENCING PROCESS

         It is almost ten years since the Supreme Court’s landmark decision in United States v.

  Booker, 543 U.S. 220 (2005). Since Booker, it has become well-established that district courts

  make an “individualized assessment based on the facts presented.” Gall v. United States, 552

  U.S. 38, 50 (2007).

         In 2013, the United States Supreme Court reaffirmed what has become the hallmark of

  current federal sentencing practice—reasoned judicial discretion based on the individual

  circumstances of each case. See, e.g., Peugh v. United States, 569 U.S. ___, 133 S. Ct. 2072,

  2079-80 (2003). Indeed, “a district court’s decision to vary from the advisory Guidelines may

  attract greatest respect when ‘it is based on the particular facts of the case.’” Peugh, 133 S. Ct. at

  2080 (quoting Kimbaugh v. United States, 553 U.S. 85, 109 (2007)). Although the guidelines are

  now merely advisory, the provisions under § 3553(a) are mandatory and contain an overarching

  provision instructing district courts to impose a sentence sufficient, but not greater than

  necessary to accomplish the goals of sentencing under that provision. Kimbaugh, 553 U.S. at

  101.



                                                            2


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 3 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


         According to Gall, the Court must impose a sentence that is both procedurally and

  substantively reasonable. Gall, 552 U.S. at 51. For a sentence to be procedurally sound the

  Court must correctly calculate the advisory guideline range, treat the guidelines as advisory,

  consider all the factors set forth in 18 U.S.C. § 3553(a), set forth factual findings on the record,

  and provide an adequate explanation for the sentence imposed. Id. To fashion a substantially

  reasonable sentence, the Court has considerable discretion as to the weight of each of the

  § 3553(a) factors. As a result, the applicable advisory guideline range is only one of the may co-

  equal factors listed in § 3553(a) that the Court must consider. Id.

         Less than five years ago, United States Attorney General Holder issued a revised

  “Department Policy on Charging and Sentencing.” See Mem. to All Federal Prosecutors from

  Att’y Gen. (May 19, 2010), attached hereto as Ex. A. This policy rejects a blind adherence to a

  guideline sentence. Instead, it sets out a policy anchored in the notion that “equal justice

  depends on individualized justice.” Id. at 1. The policy acknowledges that generally prosecutors

  will advocate for a sentence within a guideline range. However, the policy seeks advocacy at

  sentencing that follows “from an individualized assessment of the facts and circumstances of

  each particular case.” Id. at 3.

         An individualized assessment of Mr. Bosch’s circumstances reveal that a modest

  downward departure from the sentencing guidelines and/or a variance pursuant to § 3553 is

  appropriate. The distinction between “departure” and “variance” may seem to be one based on

  semantics. It is not. A “departure” occurs when a court lowers a defendant’s sentence based on

  the Sentencing Guidelines. Whereas, a “variance” occurs when a court lowers a defendant’s

  sentence based on factors found in 18 U.S.C. § 3553. See generally United States v. Cortes-



                                                            3


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 4 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


  Meza, 411 Fed. App’x 284, 291 (11th Cir. 2011) (citing United States v. Irizarry, 458 F.3d 1208,

  1211 (11th Cir. 2006)).

         In this case, whether it is a departure, or a variance, or a combination of the two, the

  result should be the same: a two point base offense level reduction resulting in a net six month

  reduction in the defendant’s Sentencing Guideline range.

                                     DOWNWARD DEPARTURE

         Respectfully, this Court should depart from the advisory sentencing guidelines based on

  the substantial assistance provided by Mr. Bosch. The government has indicated to the defense

  that it is deferring a decision to formally notify the Court of the defendant’s substantial

  assistance. While the defense strongly believes that a § 5K1.1 motion is warranted, the defense

  respects and accepts the government’s decision to defer action pending Mr. Bosch’s testimony at

  an upcoming trial scheduled before Judge Altonaga. See United States v. Yuri Sucart et al., 14-

  CR-20550-ALTONAGA at [D.E. 185] (setting a jury trial during the two-week trial period that

  begins April 6, 2015).

         Without question, Mr. Bosch has provided “substantial assistance” to the government in

  the investigation or prosecution of other individuals. He has done everything asked of him to

  date as more fully detailed below. Frankly, this point is not in dispute. It is further not in dispute

  that the Court can and should consider that assistance when fashioning an appropriate sentence.

  Accordingly, the Court should consider Mr. Bosch’s full and complete cooperation during the

  sentencing phase of this case.

                   DOWNWARD VARIANCE BASED ON § 3553 FACTORS

         It is important that a sentencing court must not presume that the guideline range is

  reasonable but must instead make an individualized assessment based on the facts presented.

                                                            4


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 5 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


  Gall, 552 U.S. at 51. “There are . . . many instances where the Guideline range will not yield a

  reasonable sentence.” United States v. Hunt, 459 F.3d 1180, 1184 (11th Cir. 2006); see also

  Nelson v. United States, 555 U.S. 350, 351 (2007) (holding that the Guidelines are not only not

  mandatory on sentencing courts; they are not presumed reasonable).

         Post Booker, the Eleventh Circuit has affirmed numerous below guideline sentences even

  without the presence of a defendant’s cooperation or a § 5K1.1 motion. See United States v.

  Williams, 435 F.3d 1350 (11th Cir. 2006) (affirming a 90 month sentence to be sufficient but not

  greater than necessary to punish even though the low end of the guidelines was 188 months).

  Indeed, it is the sentencing court’s duty to make its own reasonable application of the § 3553(a)

  factors, and to reject the advice of the Guidelines if, after due consideration, the result they

  suggest does not comport with the sentencing court’s view of an appropriate sentence.

  Kimbrough, 553 U.S. at 133 (Scalia, J., concurring).

         Even without the filing of a § 5K1.1 motion, this Court is not precluded from considering

  Mr. Bosch’s cooperation under § 3553(a). See United States v. Robinson, 741 F.3d 588, 599 (5th

  Cir. 2014) (holding that a sentencing court “has the power to consider a defendant’s cooperation

  under § 3553(a), irrespective of whether the Government files a § 5K1.1 motion” and joining

  other circuits in holding that “a sentencing court’s failure to recognize its discretion to consider a

  defendant’s cooperation under § 3553(a)(1) is a significant procedural error”); see also United

  States v. Landrón–Class, 696 F.3d 62, 78 (1st Cir. 2012) (affirming that the district court has the

  discretion to consider a defendant’s cooperation absent a § 5K1.1 motion), cert. denied 133 S.

  Ct. 1621 (2013); United States v. Masse, 663 F.3d 852, 858 (6th Cir. 2011) (affirming that a

  district court “retains the discretion to take into account a defendant’s cooperation as a § 3553(a)

  mitigating factor”); United States v. Leiskunas, 656 F.3d 732, 737 (7th Cir. 2011) (“A district

                                                            5


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 6 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


  court may consider a defendant’s cooperation with the government as a basis for a reduced

  sentence, even if the government has not made a § 5K1.1 or Rule 35 motion.”); United States v.

  Doe, 398 F.3d 1254, 1260–61 (10th Cir. 2005) (same).

         Here, the individual facts concerning the history, characteristics, and cooperation of Mr.

  Bosch and the nature of the offense demonstrate that the general rules of sentencing within the

  calculated guideline range is inappropriate as it will not serve the ends of individualized justice.

  The individualized facts and the Court’s own reasonable application of the § 3553(a) factors

  demonstrate that a modest variance of 6 months below the Guideline range is reasonable.

         A minor variance is further warranted as a result of the unique circumstances of Mr.

  Bosch’s Court-ordered drug rehabilitation. Because of the intense, aggressive, near-custodial

  status of his drug therapy as more fully described below, a two point variance and or departure is

  warranted.

               MEMORANDUM IN SUPPORT OF DEPARTURE/VARIANCE AND
                            IN AID OF SENTENCING

         Mr. Bosch stands before the Court having pled guilty to distribution of testosterone. He

  understands that he has committed a crime. He takes complete responsibility for his conduct.

  Mr. Bosch’s letter to the United States Probation Department accepting responsibility for his

  conduct is set forth as follows:

         I took the first steps towards accepting responsibility for my action when I agreed
         to cooperate with Major League Baseball. This assistance was two-fold: 1. To
         determine the use of performance enhancing substances by Major League
         Baseball players and 2. To assist Major League Baseball in determining the flaws
         in their current drug testing program. . . . Through my attorneys, I contacted the
         U.S. Attorney’s Office and informed them of my willingness to cooperate with
         their ongoing investigation. I began cooperating with the U.S. Attorney’s office
         in February or March 2014.



                                                            6


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 7 of 30
                                                                                 Case No. 14-20555-CR-GAYLES


         I deeply regret the circumstances surrounding my arrest and subsequent bond
         revocation . . . . I accept responsibility for all my actions as outlined in the factual
         proffer and incorporated by reference herein.

         I am striving to learn from my mistakes and am firmly committed to avoiding
         violations of law in the future.

  Jan. 30, 2015 letter, attached hereto as Ex. B.

                                       SECTION 3553(A) FACTORS

         As set forth in the Plea Agreement the government has agreed to seek a sentence for Mr.

  Bosch at the low-end of the guidelines range. [D.E. 2 at ¶6]. However, a reasonable application

  of the factors set forth in 18 U.S.C. § 3553(a) supports the granting of a modest downward

  variance and a sentence for Mr. Bosch below the low-end of the current guidelines range.

         The factors set forth in § 3553(a) include, in relevant part: (1) the history and

  characteristics of the offender, (2) the nature and circumstances of the offense, (3) the need to

  provide just punishment and adequate deterrence; and (4) the need to avoid unwarranted

  sentencing disparities between defendants with similar records who have been found guilty of

  similar conduct.

  I.     Behavioral History of Anthony Bosch

         The Court is required to consider Mr. Bosch’s entire background under § 3553(a)(1)

  including his post-offense conduct to inform its evaluation of his history and characteristics.

  Here, the extent and nature of Mr. Bosch’s post offense conduct—specifically, his cooperation—

  is an important factor in this Court’s consideration. Mr. Bosch’s cooperation has not only been

  helpful to the government’s investigations, but he has also been helpful to other agencies and

  entities, including an investigation conducted by Major League Baseball (“MLB”).




                                                           7


                               3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 8 of 30
                                                                                 Case No. 14-20555-CR-GAYLES


         A.      Cooperation with MLB

         In June 2013, Mr. Bosch began cooperating with the MLB’s investigation of the use of

  performance-enhancing drugs by Major League and Minor League players.                          Mr. Bosch’s

  cooperation with MLB is outlined in a January 23, 2014 letter from MLB to the United States

  Attorney’s Office (“USAO”). See Jan. 23, 2014 letter, attached hereto as Ex. C.

         Mr. Bosch agreed to provide documents to MLB and participate in proffer sessions with

  MLB representatives to fully and truthfully answer any and all questions regarding the

  acquisition, possession, and use of the performance-enhancing drugs. Id. at 3. In fact, MLB has

  recognized that Mr. Bosch’s full and complete cooperation provided “invaluable assistance” in

  addressing and eliminating the problems associated with performance-enhancing drugs. Id.

  (“[W]e believe that Bosch fully performed his obligations under the cooperation agreement.”).

  Mr. Bosch’s cooperation was “critical to MLB’s efforts to successfully sanction fourteen MLB

  players” and was described as significant to “important public interest.” Id. at 1-2.

         On July 22, 2013, based on the information provided by Mr. Bosch, MLB announced the

  suspension of one of its Major League players, who agreed to accept a suspension of sixty-five

  games rather than challenge the evidence obtained by MLB from Mr. Bosch. Id. at 4. One

  month later, MLB announced the fifty-game suspension of twelve additional players who also

  agreed to accept their discipline without challenging MLB’s evidence in an arbitration hearing.

  Id.   One player, however, challenged the MLB’s decision to suspend that player for the

  remainder of the 2013 season and the 2014 season. Id. Bosch agreed to testify at this player’s

  arbitration without receiving any monetary compensation from MLB. Id.

         Bosch testified over the course of five days during the arbitration – September 30, and

  October 1, 2, 3, and 4, 2013 – providing “substantial and essential information.” Id. But for

                                                           8


                               3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 9 of 30
                                                                                 Case No. 14-20555-CR-GAYLES


  Bosch’s cooperation and testimony, which the arbitrator found to be credible and forthright,

  MLB would not have sustained the lengthy suspension of the player.                        Id.; see also Panel

  Decision No. 131 at 23 (Jan. 11, 2014), attached hereto as Ex. D (“In this case, the testimony

  under oath from Bosch . . . was direct, credible, and squarely corroborated by experts . . . .”).

  Notably, Mr. Bosch did not assert his rights against self-incrimination in describing his dealings

  with MLB players. Mr. Bosch’s ownership of his actions and willingness to cooperate continued

  throughout the MLB’s investigation and carried into his cooperation with the government.

         B.      Cooperation with the Government

         Following MLB’s investigation, Mr. Bosch was approached by the Drug Enforcement

  Administration (“DEA”) and USAO in or about January 2014 and began cooperating in or about

  February or March 2014. Notably, six months prior to beginning his cooperation, Mr. Bosch,

  through counsel, contacted the government to offer his information and cooperation. See June

  10, 2013 letter, attached hereto as Ex. E (“Mr. Bosch has information regarding the manufacture

  and distribution of anabolic steroids that he is interested in conveying to the government.”).

         In or around February 2014, when the DEA approached Mr. Bosch about his conduct, he

  made no pretense of innocence, nor did he minimize his actions. Rather, Mr. Bosch immediately

  agreed to fully and completely cooperate.

                 i.      Threats and Endangerment

         Mr. Bosch agreed to cooperate with the complete awareness and understanding that

  cooperating in such an extensive capacity would result in placing the safety of both his and his

  loved ones in jeopardy. Mr. Bosch received threats to induce him to lie about his relationships.

  See Ex. C at 5. For example, Mr. Bosch was warned that if he contacted one player directly

  “there would be consequences.” Id. at 2. The same player’s associates also attempted to

                                                           9


                               3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 10 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


   pressure Mr. Bosch into signing a false affidavit denying any involvement in or knowledge of the

   player’s use of performance-enhancing drugs. Id. They also sought to bribe Mr. Bosch to leave

   the country and “lay low” or “go underground.” Id.

          After MLB announced the suspension of this MLB player, the player continued in his

   efforts to obstruct the due administration of justice. For example, a very public campaign was

   mounted to impugn Mr. Bosch’s credibility and character. The authorities were urged to arrest

   Mr. Bosch so that he would be unavailable to testify at the arbitration. This was all done, of

   course, to prevent the MLB and law enforcement authorities from relying on Mr. Bosch’s

   information of illegal conduct of the player and his associates.

          Throughout the past year, Mr. Bosch was forced to maintain security, who was then

   required to take protective measures. Each time, Mr. Bosch was forced to abruptly end his

   current activity or engagement and quickly leave the area. Too often, Mr. Bosch was personally

   confronted and even followed by unidentified vehicles. Occasionally, the security detail took

   extreme measures to evade these individuals.

          It became necessary to move Mr. Bosch from hotel to hotel at times. Individuals would

   watch Mr. Bosch and his family. As a result, the strain and stress on Mr. Bosch and his family

   has been relentless.

                    ii.   Debriefings

          Mr. Bosch has met on numerous occasions with representatives of the USAO and the

   DEA. He has spent scores of hours answering questions and supplying information on a variety

   of subjects of interest to the government. Each time he provided truthful, complete, and reliable

   information.      He has identified documents and witnesses critical to the government’s

   investigation.

                                                           10


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 11 of 30
                                                                                      Case No. 14-20555-CR-GAYLES


                  iii.    Grand Jury Testimony

          Mr. Bosch has testified fully and completely before a Federal Grand Jury.                          The

   government has indicated that his testimony was honest, truthful, and complete. His testimony

   was used to secure indictments against multiple individuals.

                  iv.     Results of Mr. Bosch’s Cooperation with the Government

          As a result of Mr. Bosch’s cooperation, at least two separate federal indictments have

   been returned charging seven individuals with federal crimes. See United States v. Yuri Sucart,

   et al., Case No. 14-Cr-20550- ALTONAGA; United States v. Carlos Acevedo, Case No. 14-Cr-

   20556-GAYLES. Mr. Bosch was listed as a witness in each of the charged cases. Five of those

   individuals have pled guilty. Only two remain and are currently pending trial. Mr. Bosch plans

   to testify in Sucart as a government witness. Indeed, Mr. Bosch stands ready, willing and able to

   assist in any and all matters.

                  v.      Government’s Recognition of Mr. Bosch’s Cooperation

          The government has recognized repeatedly that Mr. Bosch’s cooperation has been

   significant and important. Recently, in agreeing to reinstate Mr. Bosch’s bond, the government

   stated to the Court on October 16, 2014, the following:

          The other interest that the government has is that defendants who enter into plea
          agreements with the government faithfully comply with the conditions of those
          plea agreements. On that score, this defendant has done that. We have no reason
          to complain or criticize anything that Mr. Bosch has done in faithfully meeting
          with us timely numerous times, sometimes in out-of-the-way places, sometimes
          on short notice. . . . [W]e have been quite satisfied with his compliance with what
          he promised to do in the plea agreement.

   Bond Hr’g. Tr. 10:4-17 (Oct. 16, 2014) [D.E. 35].




                                                               11


                                    3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 12 of 30
                                                                                 Case No. 14-20555-CR-GAYLES


   II.    Personal History and Characteristics of Anthony Bosch

          In addition to Mr. Bosch’s post offense conduct, Mr. Bosch’s entire background

   including his criminal history, age, education, employment history, family ties, and commitment

   to community reveals Mr. Bosch to be a first time offender, a good son, a loving father to his

   children, and respected member of the community.

          Mr. Bosch is 51 years old. He was born in Queens, New York, to the marital union of

   Pedro Publio Bosch and Stella Banos.             Mr. Bosch’s parents are naturalized United States

   citizens. His father was born in Cuba, while his mother was born in Colombia. His parents

   began medical school in Cuba but were unable to complete their studies. They would later

   immigrate to the United States and reside in New York.

          At one point during his early childhood, Mr. Bosch’s parents were accepted into medical

   school in Madrid, Spain. Shortly after completing their medical training in Spain and returning

   to New York, Mr. Bosch’s parents were accepted to participate in an internal medicine residency

   program in Miami, Florida. As a result, Mr. Bosch, his parents, and his two siblings moved to

   Miami, Florida.

          Mr. Bosch graduated from Christopher Columbus High School in 1981. He played high

   school baseball for four years and played two years of college baseball. He played baseball and

   studied at Belmont Abbey College from 1981 to 1982 and at Catawba College from 1982 to

   1983. From 1983 to 1984, Mr. Bosch studied medicine at La Universidad Central de Este, in

   San Pedro de Macoris, Dominican Republic. In 1985, Mr. Bosch completed his studies at

   Miami-Dade College and obtained his degree in respiratory care before resuming his medical

   studies outside of the United States. From 2003 until his graduation in June 2007, Mr. Bosch



                                                          12


                               3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 13 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


   attended Belize Medical College, which is also known as Central America Health Science

   University.

          It is the lesser known acts of kindness and consideration that demonstrate the man that

   stands before this Court for sentencing. For instance, while studying in Belize, Mr. Bosch was

   part of a missionary team that regularly went into the jungle for days at a time to provide

   healthcare to children and adults who had no medical care. Malnutrition was one of the main

   challenges in the region and it sparked Bosch’s interest in nutrition. During his last two years of

   medical school, Mr. Bosch also performed clinical studies at a medical facility in El Paso, Texas.

          In 2007, Mr. Bosch graduated from Belize Medical College with a doctor of medicine

   degree. After graduating, he assisted in teaching several courses at the college.




   Diploma, attached hereto as Ex. F.




                                                           13


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 14 of 30
                                                                                 Case No. 14-20555-CR-GAYLES


          In addition to the selflessness that he exhibited in medical school, Mr. Bosch’s circle of

   family and friends will attest to his willingness to provide any assistance to those in need. See

   Letters of Support from Friends, attached hereto as Composite Ex. G. Mr. Bosch is described as

   an “outstanding, honest, and dependable friend” and the “type of older brother that” others wish

   they could have. Ex. G-1; Ex. G-2. “It was not uncommon to see Mr. Bosch go out of his way

   to ensure that his neighbor[s], acquaintance[s], or friends have his support and assistance in

   whatever way necessary.” Ex. G-3

          Growing up, Mr. Bosch was among the oldest of the neighborhood children. “[N]aturally

   he took care of [them] a lot.” Ex. G-4. One of Mr. Julio Rodriguez’ earliest memories of Mr.

   Bosch involved laughing a lot and “feeling safe.” Id. Mr. Bosch “never made [the other

   neighborhood children] feel like [they] were a burden to him.” Id. Mr. Bosch’s “humor and

   willingness to spend time with” them was a “very comforting part” of Mr. Rodriguez’ youth. Id.

          Another instance of Mr. Bosch’s selfless giving involved a long-time friend, Mr. Hector

   Rivero. Almost ten years ago, Mr. Rivero ran into some financial troubles with his business and

   decided to ask his friend, Mr. Bosch, for a loan. Ex. G-5. Mr. Bosch did not hesitate to provide.

   Mr. Bosch also never let Mr. Rivero pay him back. Id. Rather, Mr. Bosch continues to refer

   business to Mr. Rivero. Id. Mr. Bosch has also never hesitated to open his home to friends and

   extended family members that were relocating to South Florida or otherwise needed a temporary

   place to stay. Ex. G-6.

          Lastly, Mr. Bosch is respected and loved by his family. See Letters of Support from

   Family, attached hereto as Composite Ex. H. He and his parents maintain a good relationship.

   His siblings and children remain supportive of Mr. Bosch.



                                                          14


                               3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 15 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


           For instance, Danielle Bosch, Mr. Bosch’s oldest daughter, describes her father as

   “loving” “involved,” “supportive,” and “an amazing grandfather” to her two children. Ex. H-1.

   She has known her father to be a “very strong person but at the same time a very gentle human

   being who has never intentionally hurt another.” Id. After Mr. Bosch committed to substance

   abuse counseling, Danielle has “seen a huge difference in his attitude and his actions.” Id. Mr.

   Bosch has discussed his prior actions with Danielle and expressed that “he is extremely

   regretful.” Id.

           United States District Judge Rakoff eloquently summed up the delicate balance of

   weighing the good with the bad when evaluating a man’s life within the context of his history

   and characteristics:

           As these examples attest, [the Defendant’s] good deeds were not performed to
           gain status to enhance his image. Most of them were unknown to all but a few
           people until the time of his sentencing. But, surely, if ever a man is to receive
           credit for the good he has done, and his immediate misconduct assessed in the
           context of his overall life hitherto, it should be at the moment of his sentencing,
           when his very future hangs in the balance. This elementary principle of weighing
           the good with the bad, which is basic to all the great religions, moral philosophies,
           and systems of justice, was plainly part of what Congress had in mind when it
           directed courts to consider as a necessary sentencing factor, “the history and
           characteristics of the defendant.”

   United States v. Adelson, 441 F. Supp. 2d 506, 513-14 (S.D.N.Y. 2006). Like the defendant in

   Adelson, Mr. Bosch’s good deeds were not done to enhance his self image. To the contrary, Mr.

   Bosch’s commitment to providing healthcare to the less fortunate individuals in the jungles of

   Belize and financial and emotional support to his friends and family was quietly and selflessly

   done.   This commitment speaks loudly on behalf of the good that is Mr. Bosch and the

   meaningful contributions he has and will continue to make to society.




                                                           15


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 16 of 30
                                                                                 Case No. 14-20555-CR-GAYLES


   III.   Nature and Circumstances of the Offense

          Mr. Bosch acknowledges in his Plea Agreement and Factual Proffer that his offense

   results from his participation in a conspiracy to distribute testosterone. Indeed, Mr. Bosch’s

   Factual Proffer and the revised Presentence Investigation Report (“PSI”) dated February 12,

   2015 are comprehensive and detail the nature and circumstances of the offense. Please allow us,

   however, to provide additional detail regarding two separate topics – (1) the consultations with

   high school athletes and (2) the 2011 Dominican Republic business venture.

          A.      Consultations with High School Athletes

          Consistent with Mr. Bosch’s truthful and forthright acceptance of responsibility, Mr.

   Bosch has admitted that he treated a number of young men over the course of several years.

   They would visit his business and consult with him about the goals they wanted to achieve.

   Accordingly, in his plea agreement, Mr. Bosch agreed to a two-level increase to his base offense

   level “for having distributed a controlled substance to an individual that he knew was less than

   18 years of age,” pursuant to § 2D1.1(b).

          Notably, the factual proffer and the PSI also recognize that these young men were almost

   always accompanied by their parents. PSI, ¶ 18 [D.E. 49]; Factual Proffer, ¶ 3 [D.E. 3] (noting

   that these individuals were usually accompanied by their parents). This fact is important and

   should not be overlooked. All other factors aside, Mr. Bosch adhered to the general practices

   and procedures regarding the medical consultation and treatment of minors.                    See Maureen

   Carroll, Transgender Youth, Adolescent Decisionmaking, and Roper v. Simmons, 56 UCLA L.

   REV. 725, 738-39 (2009) (“Because minors are considered unable to consent on their own behalf,

   the general rule is that they must obtain parental consent for medical care.”). It was never his



                                                          16


                               3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 17 of 30
                                                                                   Case No. 14-20555-CR-GAYLES


   intent to harm any of these young men at any time. Importantly, the PSI recognizes that there are

   neither victims nor injuries as a result of this conduct.

          Respectfully, the evidence in this case would support this fact and reveal that the parents

   of these young men paid for and received treatment. They were generally recruited by coaches,

   and others, and brought to Mr. Bosch by their parents over the course of several years. Many

   were already using performance enhancing medicines in excess and unsupervised, a practice

   Bosch urged them to cease.

          B.      Business Venture in the Dominican Republic

          Mr. Bosch does not contest that he worked with Yuri Sucart and Carlos Acevedo in a

   joint business venture for the legitimate purpose of supporting young athletes in the Dominican

   Republic in hopes that these athletes would be drafted in the June Amateur Baseball Draft. Mr.

   Bosch assisted in obtaining letters that allowed Mr. Sucart and Mr. Acevedo to travel with

   testosterone to the Dominican Republic, a country where testosterone can be purchased legally

   and over-the-counter without a prescription.

          It is also important to note that Mr. Bosch’s participation in this venture was very limited.

   Mr. Bosch never invested in the business. Mr. Acevedo was the sole investor. Mr. Bosch never

   met with nor consulted with any of the baseball prospects in the Dominican Republic. Mr.

   Bosch never administered testosterone to any of the Dominican Republic baseball prospects.

          In truth, this venture was ill-advised, misguided, and temporary. The activities that

   occurred in the Dominican Republic happened over a brief period of time – approximately 30-90

   days. Finally, and maybe most critically, it is again important to note that the revised PSI makes

   clear that there were no identifiable victims at anytime during the offense conduct, which

   includes events in the U.S. and abroad. PSI, ¶ 39.

                                                            17


                                 3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 18 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


   IV.    Just Punishment and Adequate Deterrence

          Careful balance between just punishment and adequate deterrence would not be served by

   a lengthy incarceration of Mr. Bosch.            The U.S. Probation Office, in its revised PSI, has

   determined Mr. Bosch’s sentencing guideline range to be 41 to 51 months. Here, a sentence

   below the low-end of the guidelines would reflect a proper balance between just punishment and

   adequate deterrence.

          Clearly, incarceration serves the dual purpose of retribution and deterrence. But Mr.

   Bosch has shown since the first day he became aware of the government’s investigation of his

   conduct that he can be a contributing member of society.

          A.      Substance Abuse Treatment

          As this Court is well aware, Mr. Bosch began the first phase of his treatment to address

   his substance abuse issues on October 16, 2014. During this phase Mr. Bosch participated in an

   evaluation process, which included the admission process, nursing assessment, history and

   physical, bio-psychosocial interview, nutritional assessment, and family assessment. See Oct.

   30, 2014 letter (filed under seal). His treatment consisted of group therapy, individual therapy,

   recreation therapy, and lectures addressing relapse triggers and prevention. He also faithfully

   attended in-house AA/NA 12-step meetings. With the assistance of the facility’s staff, Mr.

   Bosch developed individualized treatment goals. He complied with all the rules of the facility

   and attended all scheduled activities as a full participant. During treatment, Mr. Bosch was also

   subjected to random drug screenings. Each drug screen was negative for all substances.

          On November 18, 2014, Mr. Bosch began the second phase of his substance abuse

   treatment and has remained at that facility to date. See Feb. 12, 2015 letter (filed under seal).

   The treatment program at this facility is focused on “confront[ing] the various distorted attitudes,

                                                           18


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 19 of 30
                                                                                   Case No. 14-20555-CR-GAYLES


   beliefs, and behaviors which fuel [a] patient’s pathology.”                        The treatment is also “highly

   structured, rigorous, confrontive (when appropriate), individualized, and clinically demanding.”

   Mr. Bosch was placed in the “intensive residential rehabilitation component” where his stay at

   this level was anticipated to last at least “four months.” Thereafter, the facility recommends a

   transition to “transitional living program[s]” and “working or volunteering” while continuing to

   participate in intensive outpatient services.

          Currently, Mr. Bosch has a 12-step sponsor and “has begun taking ownership for the

   problems in his life.” His therapist and counselor have reported that Mr. Bosch is “holding

   himself accountable for his actions” and he “seems genuinely motivated to make amends for his

   past actions.” To date, Mr. Bosch has completed all assignments and his attitude and motivation

   have significantly improved. Mr. Bosch’s progress has also led to successful family workshops

   which gave the Bosch family the opportunity to participate in his rehabilitation. Although

   “genuine progress” has been made, there is “significant work left to do.” Mr. Bosch’s completed

   treatment plan includes a long-term/extended care program. His therapist genuinely feels that

   Mr. Bosch can and should continue his treatment for this extended period.

          For the past four months Mr. Bosch has been fully immersed and on virtual lockdown in

   his highly structured, rigorous, intensive, and clinically demanding therapy. His progress is

   significant. His therapist are optimistic. His family notes substantial improvement. Accordingly,

   a minor variance is warranted.

          B.      Continued Cooperation with Third-Parties

          While working with the government to aid in its investigation and prosecution of others,

   Mr. Bosch remained willing but unable to cooperate and volunteer with other entities, such as the

   United States Anti-Doping Agency (“USADA”).                        By way of background, USADA is an

                                                            19


                                 3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 20 of 30
                                                                                   Case No. 14-20555-CR-GAYLES


   independent not-for-profit entity that is recognized by the United States Congress as the official

   anti-doping agency for the Olympic and Paralympic Movements in the United States. As the

   designated National Anti-Doping Organization (“NADO”) in the United States, USADA is

   tasked with, and has embraced, the responsibility of testing for banned substances and the

   investigation and adjudication of anti-doping rule violations by athletes and athlete support

   personnel (coaches, trainers, doctors, etc.) in Olympic and Paralympic sport.

           Through Mr. Bosch’s attorneys, USADA learned that Mr. Bosch possessed relevant and

   important information on a range of issues that are of great interest to USADA. Out of deference

   to the U.S. Attorney’s Office’s investigation and prosecution, USADA delayed its efforts to

   obtain Mr. Bosch’s complete cooperation. Now that Mr. Bosch’s case is reaching its conclusion,

   however, USADA is eager to meet with Mr. Bosch and speak with him directly about

   cooperating with its ongoing inquiries.

           USADA is now seeking this Court’s consent for Mr. Bosch to cooperate in the

   investigation of the use of performance-enhancing drugs in Olympic and Paralympic sport. Mr.

   Bosch is more than willing to share his extensive knowledge of methods and practices with

   USADA and welcomes the prospect of having such cooperation made a formal requirement of

   his sentence. USADA is confident that such an arrangement would help USADA continue to

   fulfill its mission to preserve the integrity of competition, inspire true sport, and protect the rights

   of U.S. athletes. USADA is also confident that such an arrangement would benefit Mr. Bosch by

   providing him with a meaningful opportunity to continue to make amends.

           Volunteer work combined with outpatient treatment is consistent with the

   recommendation for Mr. Bosch’s transition from his residential treatment program.



                                                            20


                                 3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 21 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


   V.     Similarly Situated Defendants

          Section 3553(a)(6) very clearly speaks to the “need to avoid unwarranted sentence

   disparities among defendants with similar records who have been found guilty of similar

   conduct.” The following information includes the sentences issued in cases that are directly

   related to Mr. Bosch’s case, as well as sentences issued to defendants who have been found

   guilty of similar conduct.

          A.       Related Cases

          Seven individuals that are related to Mr. Bosch’s case have been charged or indicted for

   similar conduct. See United States v. Yuri Sucart et al., Case No. 14-CR-20550-ALTONAGA

   (naming Yuri Sucart, Jorge “Ugi” Velazquez, Christopher Engroba, Juan Carlos Nunez, Lazaro

   Collazo, and Paulo Berejuk as defendants); see also United States v. Carlos Acevedo, Case No.

   14-CR-20556-GAYLES. Of the seven defendants, five have pled guilty. To date, three of the

   five defendants have received sentence ranging from two-years of probation to 42 months

   imprisonment.

                   i.     United States v. Yuri Sucart et al., Case No. 14-CR-20550-ALTONAGA

          Identical to Mr. Bosch’s plea, Mr. Engroba, Mr. Velazquez, Mr. Berejuk, and Mr. Nunez

   pled guilty to one count of conspiracy to distribute a Schedule III controlled substance, to wit:

   testosterone. Mr. Berejuk and Mr. Nunez are awaiting their sentencing before Judge Altonga,

   while the remaining co-conspirators, Yuri Sucart and Lazaro Collazo, are awaiting trial before

   this Court.

          Of the two defendants that have received their sentence, Mr. Engroba agreed to cooperate

   and was sentenced to two years of probation. Mr. Velazquez, on the other hand, obstructed

   justice, decided not to cooperate, and was sentenced to 30 months imprisonment.

                                                           21


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 22 of 30
                                                                                    Case No. 14-20555-CR-GAYLES


                   ii.     United States v. Carlos Acevedo, Case No. 14-CR-20556-GAYLES

          Similar (but not identical) to Mr. Bosch’s plea, Mr. Acevedo pled guilty to two counts –

   (1) conspiracy to distribute testosterone and (2) conspiracy to distribute a Schedule I controlled

   substance. On January 16, 2015, Mr. Acevedo was sentenced to 42 months imprisonment as to

   each of the counts, to be served concurrently. Two of the three factors that this Court considered

   and expressly announced as factors in determining the severity of Mr. Acevedo’s sentence are

   undisputedly absent from Mr. Bosch’s case. This sentence was imposed, in part, because “there

   were two different types of drug transactions” and because “Mr. Acevedo has a prior

   conviction.” Acevedo Sentencing Hr’g. Tr. 36:11-20 (Jan. 16, 2015).

          Mr. Bosch’s record and conduct are distinguishable from that of Mr. Velazquez’s and Mr.

   Acevedo’s. First, unlike Mr. Acevedo, Mr. Bosch has no prior criminal history. See PSI, ¶ 57-

   59 (indicating no juvenile or adult criminal convictions and “zero criminal history points”). Also

   unlike Mr. Acevedo, Mr. Bosch was not charged nor pled guilty to a crime that involved two

   different types of drug transactions. Finally, unlike Mr. Velazquez, Mr. Bosch has and will

   continue to cooperate, and Mr. Bosch has not obstructed justice. Rather, Mr. Bosch’s record and

   conduct is similar to Mr. Engroba’s. Respectfully, to avoid unwarranted sentence disparities Mr.

   Bosch’s sentence should be more similar to that of Mr. Engroba.

                                             Obstructed              Additional                Guideline
    Defendant            Cooperation                                                                          Sentence
                                              Justice                 Charges                   Range
                                                                                                              30 months
 Jorge Velazquez             No                   Yes                      No              30 – 37 months
                                                                                                            imprisonment
                                                                                                              42 months
  Carlos Acevedo            Yes                    No                     Yes              37 – 46 months
                                                                                                            imprisonment
                                                                                                               2 years
Christopher Engroba         Yes                    No                      No              10 – 16 months
                                                                                                              probation
  Anthony Bosch             Yes                    No                      No              41 – 51 months


                                                             22


                                  3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 23 of 30
                                                                                   Case No. 14-20555-CR-GAYLES


            B.     Other Cases

            While the case law is sparse in regards to the charges at hand there are some cases that

   can provide persuasive insight to how other defendants similarly situated were sentenced and

   what factors the court in those cases took into consideration when determining the appropriate

   terms.

                   i.     United States v. Conte, Case No. CR04-44 & CR05-455 (N.D.Cal) &
                          United States v. Shortt, 485 F.3d 243 (4th Cir. 2007)

            United States v. Conte, or more infamously known as the case concerning the Barry

   Bonds Scandal, is a ripe example. In Conte, Victor Conte, the vice-president of the Bay-Area

   Laboratory Co-operative (“BALCO”), took timely responsibility for his actions and pled guilty

   to illegal steroid distribution and money laundering. He received an enhancement for being the

   leader and organizer of the crime. In addition to treating Barry Bonds, a famous professional

   baseball player, Conte treated numerous other high profile athletes including, MLB players,

   Olympic athletes (separate individuals and the entire 1988 U.S. judo team), boxers, and cyclists.

   Conte marketed tetrahydroestrinone, also known as “The Clear,” as a performance enhancing

   drug undetectable to tests and screenings. The judge sentenced Conte to 4 months prison

   followed by 4 months of home detention.

            The scale of Conte’s scheme far surpasses this case. No case is more infamous than that

   of the steroid distribution ring that led to nationally beloved baseball hero Barry Bonds falling

   from grace. While Mr. Bosch’s case presents a crime that implemented a significantly smaller

   scale than Conte, there are some important similarities. Like Conte, Mr. Bosch has received an

   enhancement for being the leader and organizer of the crime. Even though the amount of

   athletes affected in Conte far exceeds Mr. Bosch, both Conte and Mr. Bosch did treat


                                                            23


                                 3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 24 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


   professional athletes. Both Conte and Mr. Bosch reflected and have expressed sincere remorse

   for their actions, and have attempted to take responsibility for what has occurred. Conte has

   attempted to make amends through his expressed remorse, and Mr. Bosch has done so not only

   through his expressed remorse but also his substantial cooperation with the government.

          In United States v. Shortt, 485 F.3d 243 (4th Cir. 2007), a licensed physician, James

   Shortt, was found guilty of conspiracy to dispense anabolic steroids and human growth hormone.

   Shortt treated many professional athletes but was never remorseful for his actions, even

   maintaining at sentencing that the drugs he dispensed to his clients were aimed to aid the repair

   of the athletes’ bodies. In deciding the sentence, the judge gave weight to the fact that the

   defendant tried to conceal his wrongdoing from authorities by circumventing the testing

   procedures of the professional sports leagues, expressing a lack of remorse for the crime, and

   treating minor children.    The judge sentenced the physician to 12 months and 1 day of

   imprisonment.

          The scheme in Shortt is similar to this case; however, the actions of the physician and Mr.

   Bosch are not. Both men knew the testing procedures of the professional leagues, both men

   treated numerous professional athletes and both men treated athletes who had not yet reached the

   age of majority. While both men are guilty of the same crime, only Mr. Bosch has taken

   responsibility for his actions. In fact the physician in Shortt made a statement to the court during

   sentencing expressing that this lack of remorse and equating the distribution of steroids to

   healing those he treated.   The actions of the physician, paired with his flagrant irresponsibility

   and immaturity led to the judge imposing the sentence of 12 months and a day.

          In Conte, like Shortt, we have very similar sets of facts to the case at bar, but we have

   two additional defendants who responded quite differently – in essence, the same crime, different

                                                           24


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 25 of 30
                                                                                     Case No. 14-20555-CR-GAYLES


   actions. The only apparent difference is the lack of responsibility and accountability taken by one

   of the defendants. In Conte, the defendant took responsibility for what he had done and as a

   result the judge imposed a sentence of 4 months prison and 4 months house arrest. In Shortt, the

   defendant argued until the very end that what he did was not wrong and the judge imposed a

   sentence of a year and a day. Bosch’s cooperation parallels the defendant in Conte.

                        Acceptance of
    Defendant           Responsibility              Guideline Range                                    Sentence
                        and Remorse
   James Shortt              No                    0 – 6 months                           12 months and 1 day imprisonment
                                                  6 – 12 months
                                                                                                 4 months imprisonment
  Victor Conte               Yes            (based on 2005 USSG table
                                                                                                4 months home detention
                                              and offense level of 10)
 Anthony Bosch               Yes                     41 – 51 months

                  ii.       United States v. Del Toro et al., Case No. 11–80155–CR–MARRA
                            (S.D. Fla.)

          United States v. Del Toro, is another case that contains similar conduct that is instructive

   in avoiding sentencing disparities for similar conduct. Because Del Toro involved multiple

   defendants, only the relevant offense conduct and related sentences are discussed below.

          First, Mr. Jeffrey Perelman pled guilty to two counts of the Superseding Indictment –

   conspiracy to distribute a controlled substance and conspiracy to unlawfully distribute human

   growth hormone.        Specifically, between March 2007 and July 2011, Mr. Perelman caused

   96,740,768 dosage units of anabolic steroids to be dispensed through pharmacies to customers of

   various medical clinics. Before the indictment, Mr. Perelman cooperated with the government

   by providing detailed information about other government targets.                                At sentencing, Mr.

   Perelman’s PSI reflected a range of 30-37 months imprisonment. The judge sentenced Mr.

   Perelman to 6 months imprisonment on both counts to be served concurrently and followed by


                                                              25


                                   3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 26 of 30
                                                                                 Case No. 14-20555-CR-GAYLES


   one year of supervised release with 4 months of home confinement.

          Additionally, Mr. Steven Pearlstein pled guilty to three counts of the Second Superseding

   Indictment – (1) conspiracy to distribute a controlled substance, to wit: anabolic steroids; (2)

   conspiracy to distribute controlled substance, to wit: oxycodone; and (3) conspiracy to

   unlawfully distribute human growth hormone. From August 2006 through March 2009 and from

   July 2010 through July 2011, Pearlstein pre-signed blank prescription pads that were used to

   create drug orders for steroids, oxycodone, and human growth hormone for a clinic owned by

   Craig Beaver. Before the indictment, Mr. Pearlstein sat for interviews with the government and

   prepared to appear as a witness at trial. During his debriefings Pearlstein provided detailed

   descriptions of his interactions with individuals who were targets of the government’s

   investigation. At sentencing, Mr. Pearlstein’s PSI provided a guideline range of 135 to 168

   months. The judge sentenced Mr. Pearlstein to 12 months and 1 day followed by one year of

   supervised release.

          Mr. Craig Beaver, the clinic owner and a licensed chiropractor, also pled to the same

   charges as Mr. Pearlstein and also cooperated with the government in their investigation before

   being charged by the Indictment. At sentencing, Mr. Beaver’s PSI provided a guideline range of

   188 to 235 months. The judge sentenced Mr. Beaver to 18 months imprisonment followed by

   one year of supervised release and 6 months of home detention.

          Finally, Alan Lefkin, a licensed medical doctor who also worked for Mr. Beaver, pled

   guilty to two counts—conspiracy to distribute anabolic steroids and conspiracy to unlawfully

   distribute human growth hormone. Identical to Mr. Perelman, Mr. Pearlstein, and Mr. Beaver,

   Mr. Lefkin cooperated with the government before being charged in the indictment.                     Mr.

   Lefkin’s PSI provided a guideline range of 24 to 30 months. The judge sentenced Mr. Lefkin to

                                                          26


                               3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 27 of 30
                                                                                  Case No. 14-20555-CR-GAYLES


   3 months imprisonment followed by one year of supervised release with 3 months of home

   confinement.

          Each defendant was charged with and pled guilty to the same crime as Mr. Bosch.

   Notably, most of the defendants were charged with and pled guilty to additional crimes. Each of

   these defendants cooperated with the government’s investigation prior to being charged in an

   Indictment. Each of these defendants received a sentence that was a fraction (approximately

   10%) of their recommended sentence. Respectfully, these cases provide fair guidance.

                              Additional         Guideline                                        % of low-end
 Defendant    Cooperation                                                        Sentence
                               Charge              Range                                         Guideline Range
  Jeffrey                                          30-37              6 months imprisonment
                  Yes            Yes                                                                  20%
 Perelman                                         months             4 months home detention
  Steven                                         135 to 168            12 months and 1 day
                  Yes            Yes                                                                  8.8%
 Pearlstein                                       months                  imprisonment
   Craig                                         188 to 235          18 months imprisonment
                  Yes            Yes                                                                  9.5%
  Beaver                                          months             6 months home detention
   Alan                                           24 to 30            3 months imprisonment
                  Yes            Yes                                                                 12.5%
  Lefkin                                          months             3 months home detention
 Anthony                                          41 – 51
                  Yes             No
  Bosch                                           months

                                                  CONCLUSION

          Mr. Bosch is truly repentant. He deeply regrets agreeing to and participating in the

   conspiracy to distribute testosterone.          He has learned from this experience.            Mr. Bosch

   understands that he must stand accountable for his conduct and accept the consequences, which

   include the possibility of serving a term of imprisonment. Here, a two point base offense level

   reduction resulting in a mere net six month reduction in the low end of the Guideline range is fair

   and appropriate. Such sentence is consistent with the factors mandated by 18 U.S.C. § 3553(a).




                                                           27


                                3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 28 of 30
                                                                                   Case No. 14-20555-CR-GAYLES


        MR. BOSCH’S UNOPPOSED REQUEST FOR VOLUNTARY SURRENDER, RESIDENTIAL DRUG
                    TREATMENT PROGRAM, AND INSTITUTIONAL RECOMMENDATION

   I.      Voluntary Surrender

           In the event that this Court sentences Mr. Bosch to a term of imprisonment, Mr. Bosch

   respectfully requests that he be permitted to voluntarily surrender to his designated place of

   incarceration. The government has no objection to this request.

           First, Mr. Bosch has cooperated with the government since he first learned of the

   investigation underlying this prosecution and the prosecution in United States v. Carlos Acevedo,

   Case No. 14-CR-20556-GAYLES and United States v. Yuri Sucart et al., Case No. 14-CR-

   20550-ALTONAGA. Second, during the pre-arrest phase, Mr. Bosch cooperated and met with

   the government and its agents. Third, on the date of his first appearance, Mr. Bosch self-

   surrendered to authorities according to the date, time, and location agreed to by the government.

   Fourth, Mr. Bosch has faithfully fulfilled the conditions of his pretrial release. Finally, Mr.

   Bosch is scheduled to testify as a government witness in Sucart.

           Allowing Mr. Bosch to voluntarily surrender after his testimony will allow him, his

   counsel, and the government the additional time and access to prepare for his testimony. Lastly,

   allowing Mr. Bosch to voluntarily surrender is considered an important positive factor under the

   Bureau of Prisons Guidelines. See BOP Inmate Security and Custody Classification, Po. No.

   P5100.008,     9/12/06   at      Ch.       4      p.      5-6,      Voluntary              Surrender   (available   at

   http://www.bop.gov/policy/progstat/5100_008.pdf).

           In addition, Mr. Bosch’s rehabilitation is ongoing. See supra § IV(A). He has paid for

   this treatment through the month of March and is dedicated and committed to a full recovery.

   Indeed, his counselors confirm that there is significant work left to do. As a result, Mr. Bosch


                                                            28


                                 3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 29 of 30
                                                                                   Case No. 14-20555-CR-GAYLES


   respectfully requests 60 days to voluntarily surrender so that he can receive as much therapy and

   treatment as possible before surrendering to the U.S. Marshalls. Again, the government has no

   objection to this request.

   II.    Residential Drug Abuse Program

          As acknowledged in paragraphs 76 through 81 of the revised PSI, Mr. Bosch has a

   substance abuse problem for which he is currently seeking treatment. Accordingly, Mr. Bosch is

   eligible for the substance abuse treatment program, otherwise known as the Residential Drug

   Abuse Program (“RDAP”) and noted in 18 U.S.C. § 3621(e). In the event that this Court

   sentences Mr. Bosch to a term of imprisonment, Mr. Bosch respectfully requests that this Court

   recommend the program. The government does not object.

   III.   Institutional Recommendation

          In the event that this Court sentences Mr. Bosch to a term of imprisonment, Mr. Bosch

   respectfully requests that this Court submit a recommendation to the Bureau of Prisons that, if

   possible, Mr. Bosch should be assigned to FCI Miami or a facility within South Florida. Mr.

   Bosch understands that the Court, if inclined to do so, can only recommend, rather than bind, the

   Bureau of Prisons as it relates to facility placement.




                                                            29


                                 3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
Case 1:14-cr-20555-DPG Document 50 Entered on FLSD Docket 02/12/2015 Page 30 of 30
                                                                                 Case No. 14-20555-CR-GAYLES


                                                      Respectfully submitted,

                                                      LEWIS TEIN, P.L.
                                                      Counsel for Anthony Bosch
                                                      3059 Grand Avenue, Suite 340
                                                      Coconut Grove, Florida 33133
                                                      Tel: (305) 442 1101
                                                      Fax: (305) 442 6744

                                           By:        /s/ Guy A. Lewis
                                                      GUY A. LEWIS
                                                      Fla. Bar No. 623740
                                                      lewis@lewistein.com
                                                      MICHAEL R. TEIN
                                                      Florida Bar No. 993522
                                                      mtein@lewistein.com

                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on February 12, 2015, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record identified on the following service list via

   transmission of Notices of Electronic Filing generated by CM/ECF.

                                               /s/ Guy A. Lewis
                                               GUY A. LEWIS

                                               SERVICE LIST

   Michael P. Sullivan, Esq.
   U.S. Attorney’s Office
   99 N.E. 4th Street
   Miami, Florida 33132

   Sharad Anand Motiani, Esq.
   United States Attorney’s Office
   99 NE 4th Street
   Miami, FL 33132




                                                          30


                               3059 GRAND AVENUE, SUITE 340, COCONUT GROVE, FLORIDA 33133
